         Case 19-34508 Document 1471 Filed in TXSB on 07/16/20 Page 1 of 7




                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


                                                                 §
In re:                                                           § Chapter 11
                                                                 §
SANCHEZ ENERGY CORPORATION, et al., 1                            § Case No. 19-34508 (MI)
                                                                 §
                           Debtors.                              § (Jointly Administered)
                                                                 §


         OBJECTION OF ROYAL BANK OF CANADA TO EMERGENCY MOTION
                PURSUANT TO 11 U.S.C. SECTIONS 105 AND 1142 TO
                        CARRY OUT PLAN PROVISION
                            [Relates to Dkt. No. 1451]

         Royal Bank of Canada, as administrative agent, as lender under the Revolving Credit

Facility, 2 and as predecessor Collateral Trustee (in such capacities, “RBC”), files this objection

(the “Objection”) to the DIP Lenders’ Emergency Motion Pursuant to 11 U.S.C. Sections 105 and

1142 to Carry Out Plan Provision [Dkt. No. 1451] (the “Motion”) and respectfully states the

following:

                                           Summary of Objection

         1.      The DIP Lenders’ proposed Lien-Related Litigation procedures (the “Proposed

Procedures”) seek to unilaterally impose limitations on RBC’s (and other parties’) participation in

Phase 1, without squarely presenting—through a pleading or otherwise—the actual issues to be

determined. As it pertains to Phase 1 of the Lien-Related Litigation, the Plan simply indicates the




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Sanchez Energy Corporation (0102); SN Palmetto, LLC (3696); SN Marquis LLC (0102); SN
Cotulla Assets, LLC (0102); SN Operating, LLC (2143); SN TMS, LLC (0102); SN Catarina, LLC (0102); Rockin L
Ranch Company, LLC (0102); SN EF Maverick, LLC (0102); SN Payables, LLC (0102); and SN UR Holdings, LLC
(0102). The location of the Debtors’ service address is 700 Milam St., Suite 600, Houston, Texas 77002.
2
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan.


217569.000174 23735922.4
        Case 19-34508 Document 1471 Filed in TXSB on 07/16/20 Page 2 of 7




determination will involve the “interpretation of the Final DIP Order.” 3                         Limiting RBC’s

participation without notice of the particular issues to be determined improperly infringes upon

RBC’s right to due process. Because the DIP Lenders—in their initial pleading 4—have not

squarely presented the determination sought in Phase 1, RBC cannot reasonably prepare (or

determine whether it is necessary to prepare) pleadings on issues that may affect RBC. The

Proposed Procedures must provide fair notice of the issues to be determined and an opportunity

for parties-in-interest to be heard.

         2.       Separately, the Phase 1 timeline of the Lien-Related Litigation was designed to

determine whether the rights granted to the DIP Lenders under the DIP Order—in light of the

Debtors’ enterprise value as determined at confirmation—moots any challenge to the liens held by

the successor Collateral Trustee. RBC believes it is generally aligned with the DIP Lenders as it

relates to this issue (as well as certain other issues). However, RBC objects to the Proposed

Procedures to the extent the procedures and the determinations sought by the DIP Lenders would

preclude RBC, or other parties-in-interest, from raising other issues relating to the interpretation

of the Final DIP Order and Confirmation Order in any later Phases of the Lien-Related Litigation.

                                            Relevant Background 5

         3.       RBC is the owner and holder of certain First-Out Obligations, including

indemnities and payment priorities that were preserved and protected from discharge under the

Final DIP Order, the Plan, and the Confirmation Order. Moreover, the Confirmation Order

explicitly (i) preserved all claims, rights and defenses of RBC relating to the Lien-Related



3
  Plan at p. 21.
4
  Id.
5
  For sake of brevity, RBC incorporates, as if fully set forth herein, the factual background of the Objection of Royal
Bank of Canada to Amended Joint Chapter 11 Plan of Reorganization of Sanchez Energy Corporation and Its Debtor
Affiliates [Dkt. No. 1152] (the “Plan Objection”).

                                                          2
217569.000174 23735922.4
         Case 19-34508 Document 1471 Filed in TXSB on 07/16/20 Page 3 of 7




Litigation, (ii) preserved all rights of RBC under the Final DIP Order, (iii) and exempted from

discharge all rights, claims, and obligations in favor of RBC in respect to any First-Out Obligations

(as defined in the Final DIP Order), including any indemnification claims, and preserved the

payment priority granted to RBC by the Final DIP Order. Confirmation Order at ¶ 29. 6

         4.       RBC is a party-in-interest in the Lien-Related Litigation. 7 The Plan defines the

Lien-Related Litigation broadly, and includes a timeline for the anticipated litigation. 8 The

timeline generally states with respect to Phase 1, that the “phase shall be initiated by a pleading

filed by the DIP Lenders or DIP Agent” in order “to determine the interpretation of the Final DIP

Order.” Plan at p. 21.


6
  The Final DIP Order recognized that certain First-Out Obligations remained outstanding and continued to accrue.
The Final DIP Order also preserved the relative payment priority of these obligations in a position senior to, inter alia,
the DIP Obligations, and granted RBC various rights and protections. See, e.g., Final DIP Order at ¶¶ H, 5(c), 7, 9,
9(a), 10, 13-14, 16-17, 19, 22, 23(a), and 34.
7
  On April 10, 2020, RBC filed its Answer and Counterclaims [Adv. Pro. Dkt. No. 7] in the original lien challenge
adversary proceeding (the “Adversary Proceeding”) captioned Sanchez Energy Corporation, et al. v. Royal Bank of
Canada, Wilmington Savings Fund Society, FSB and Wilmington Trust, National Association (Adv. Pro. No. 20-
03057). On April 14, 2020, the Court entered an Order abating the Adversary Proceeding [Adv. Dkt. No. 9].
8
  The Lien-Related Litigation is defined as follows:

         all litigation related to challenges to the allowance, priority, scope or validity of the liens and/or
         Claims of the Prepetition Secured Parties (as defined in the Final DIP Order) or the priority or scope
         of the liens and/or Claims of the DIP Lenders, including any litigation regarding (i) the interpretation
         of the Final DIP Order and other matters regarding the scope of the collateral securing the DIP
         Claims, (ii) the amount and characterization of the DIP Claims (including the Final DIP Order’s
         treatment of new-money DIP Claims and roll-up DIP Claims), (iii) the amount of any deficiency
         claim of the DIP Lenders, (iv) adequate protection claims pursuant to section 507(b) of the
         Bankruptcy Code (including issues regarding diminution in value, and any recharacterization or
         disgorgement of adequate protection payments made pursuant to the Final DIP Order, or any prior
         interim order), (v) the applicability of the equities of the case doctrine under section 552 of the
         Bankruptcy Code, (vi) all Causes of Action referenced and asserted in the Lien Challenge
         Complaint, (vii) the claim objections filed by the Creditors’ Committee on March 10, 2020, at
         Docket No. 1027, (viii) the value of Causes of Action, and (ix) the relative value of encumbered and
         unencumbered assets. For purposes of clarification, nothing in the Plan or the Confirmation Order
         shall alter, amend, or otherwise limit any rights, claims, or defenses that may or could be asserted
         by the DIP Lenders, DIP Agent, Collateral Trustee, Secured Notes Indenture Trustee, or any Holders
         of DIP Claims or Senior Notes Claims in connection with or in defense of the Lien-Related
         Litigation, irrespective of whether such rights, claims, or defenses arose before or after the Petition
         Date and whether provided or arising under the Final DIP Order, applicable agreements, applicable
         law, or otherwise.

Plan at p. 7. The timeline for the Lien-Related Litigation is set forth Article IV of the Plan at p. 21.

                                                            3
217569.000174 23735922.4
        Case 19-34508 Document 1471 Filed in TXSB on 07/16/20 Page 4 of 7




        5.       On July 10, 2020, the DIP Lender filed the Motion, requesting the Court enter an

order approving the Proposed Procedures. However, the Motion does not present specific issues

or seek a determination regarding any issue relating to the interpretation of the Final DIP Order.

Notwithstanding this lack of notice, the Motion seeks to exclude RBC from participating in

Phase 1, except for filing a two (2) page position statement. See Motion at p. 3.

                                             Objection

        I.       Limiting RBC’s Participation in Phase 1 Violates Due Process and Any
                 Procedures Must Provide Notice and an Opportunity To Be Heard on the
                 Specific “Interpretive” Determinations Sought by the DIP Lenders and the
                 Lien-Related Litigation Creditor Representative

        6.       Based on the nature and scope of the issues that could be subject to interpretation

under the Final DIP Order, RBC, as predecessor Collateral Trustee and holder of certain First-Out

Obligations, must be in a position to review and appreciate the precise issues on which a

determination is sought in order to determine whether any pleading by RBC is necessary in order

to protect RBC’s interests. The Proposed Procedures make it impossible for RBC to assess those

issues and meaningfully participate to the extent its interests may be adversely affected.

        7.       Under the Confirmation Order, all rights, claims, and obligations in favor of RBC

in respect of the First-Out Obligations were preserved and unaffected by the Plan. See

Confirmation Order at ¶ 29. Further, any lien or security interests for the benefit of RBC, including

liens, security interests, super-priority claims, or other elevated payment priorities granted for the

benefit of RBC under the Final DIP Order, in respect of the First-Out Obligations, are enforceable

by RBC against the Reorganized Debtors with the same priority and extent as such claims had

under the Final DIP Order. Id. Accordingly, RBC has an acute interest in protecting its rights

under the Final DIP Order and the Confirmation Order.




                                                  4
217569.000174 23735922.4
        Case 19-34508 Document 1471 Filed in TXSB on 07/16/20 Page 5 of 7




        8.       RBC understands the primary issue to be determined through Phase 1 of the Lien-

Related Litigation, is whether a challenge to the liens held by the successor Collateral Trustee has

been rendered moot by the rights granted to the DIP Lenders under the Final DIP Order and the

valuation of the Reorganized Debtors as determined at confirmation. On this basis, RBC does not

necessarily anticipate being involved in Phase 1 of the Lien-Related Litigation. However, RBC

cannot possibly know whether its rights and interests under the Final DIP Order may be adversely

affected without seeing the actual determinations sought by the DIP Lenders and the Lien-Related

Litigation Creditor Representative.

        9.       As the Confirmation Order expressly preserved the rights, claims, or defenses of

RBC in connection with the Lien-Related Litigation and under the Final DIP Order, the Proposed

Procedures must not preclude RBC from protecting its rights.

        10.      As such, the Proposed Procedures would improperly infringe upon RBC’s due

process rights by unilaterally establishing limitations on RBC’s participation—now and in the

future—without notice of the determinations being sought or the specific issues to be addressed.

        II.      Phase 1 of the Lien-Related Litigation Must Not Preclude RBC from
                 Determining its Rights under the Final DIP Order and Confirmation Order in
                 Later Phases of the Litigation

        11.      The Lien-Related Litigation timeline generally states, with respect to Phase 1, that

the “phase shall be initiated by a pleading filed by the DIP Lenders or DIP Agent” in order “to

determine the interpretation of the Final DIP Order.” Plan at p. 21. Considering the generality of

this provision, and the lack of clarity regarding what specific determination relating to “the

interpretation of the Final DIP Order” the DIP Lenders will seek, any procedures order should

clarify that RBC will not be precluded from seeking and obtaining a determination of its rights




                                                  5
217569.000174 23735922.4
        Case 19-34508 Document 1471 Filed in TXSB on 07/16/20 Page 6 of 7




under the Final DIP Order or Confirmation Order—subsequent to, or separate and apart from,

Phase 1 of the Lien-Related Litigation.

        12.      To the extent the Motion purports to require RBC to litigate any and all interpretive

issues relating to the Final DIP Order in Phase 1 of the Lien-Related Litigation (which RBC

vigorously denies), a robust scheduling order should be entered specifying each of the issues to be

determined and setting appropriate briefing deadlines in connection with each issue.

                                       Reservation of Rights

        13.      RBC reserves all rights to supplement or amend this objection, or to join any

objections or other pleading filed in connection with the Motion.

                                 [concluded on the following page]




                                                   6
217569.000174 23735922.4
        Case 19-34508 Document 1471 Filed in TXSB on 07/16/20 Page 7 of 7




                                            Conclusion

        WHEREFORE, RBC requests that the Court amend the Proposed Procedures to (i) provide

RBC with notice of the Phase 1 issues and an opportunity to be heard and (ii) clarify that RBC’s

right to seek an interpretation of the Final DIP Order and Confirmation Order during the Lien-

Related Litigation or at any future time is not impaired.


Houston, Texas
Dated: July 16, 2020


                                                            THOMPSON & KNIGHT LLP

                                                            By: /s/ Tye C. Hancock
                                                            Tye C. Hancock
                                                            Texas State Bar No. 24032271
                                                            Anthony F. Pirraglia
                                                            Texas State Bar No. 24103017
                                                            Cameron Rivers
                                                            Texas State Bar No. 24102846
                                                            811 Main Street, Suite 2500,
                                                            Houston, Texas 77002
                                                            Telephone: 713.654.8111
                                                            Fax: 713.654.1871
                                                            Tye.Hancock@tklaw.com
                                                            Anthony.Pirraglia@tklaw.com
                                                            Cameron.Rivers@tklaw.com

                                                            Counsel for Royal Bank of Canada



                                      Certificate of Service

        I certify that on July 16, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                                     /s/ Tye C. Hancock
                                                                     Tye C. Hancock




                                                 7
217569.000174 23735922.4
